  USDC IN/ND case 4:18-cv-00089-JEM document 141 filed 09/23/22 page 1 of 8


                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION AT LAFAYETTE

NANCY ROE,                                  )
    Plaintiff,                              )
                                            )
              v.                            )       CAUSE NO.: 4:18-CV-89-JEM
                                            )
PURDUE UNIVERSITY, et al.,                  )
    Defendants.                             )

                               VERDICT: Purdue University

Question 1 (choose (check) a or b):

____   a. We, the jury, unanimously find in favor of Plaintiff Megan Hayes with respect to her

       claim that Defendant Purdue University treated her differently in investigating a complaint

       of assault because she is female; that it retaliated against her because of her good faith

       complaint of sexual assault; that it treated Plaintiff Megan Hayes’s claim of assault with

       indifference during the investigation; or that Defendant Purdue University’s method of

       determining that Plaintiff Megan Hayes should be subject to discipline was the equivalent

       of an official decision not to take action to remedy student-on-student harassment.



____ b. We, the jury, unanimously find in favor of Defendant Purdue University with respect to

       all claims brought by the plaintiff Megan Hayes.

(If you check response “b”, do not answer Question 2, and sign this verdict form without

answering the next question. If you check “a” to the question, then proceed to the next

question)
  USDC IN/ND case 4:18-cv-00089-JEM document 141 filed 09/23/22 page 2 of 8


Question 2

      We, the jury, award compensatory damages for the benefit of Plaintiff Megan Hayes to be

paid by Defendant Purdue University in the following amount: $ _____________________.



Dated: ________________                          ___________________________________
                                                 Presiding Juror
  USDC IN/ND case 4:18-cv-00089-JEM document 141 filed 09/23/22 page 3 of 8


                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION AT LAFAYETTE

NANCY ROE,                                  )
    Plaintiff,                              )
                                            )
              v.                            )       CAUSE NO.: 4:18-CV-89-JEM
                                            )
PURDUE UNIVERSITY, et al.,                  )
    Defendants.                             )

                             VERDICT: Katherine Sermersheim

Question 1 (choose (check) a or b):

____   a. We, the jury, unanimously find in favor of Plaintiff Megan Hayes with respect to her

       claim that Defendant Katherine Sermersheim did not provide adequate notice to Plaintiff

       Megan Hayes of the investigation against her or the opportunity to be fully heard and that

       the suspension deprived Plaintiff Megan Hayes of her liberty and/or property.

____   b. We, the jury, unanimously find in favor of Defendant Katherine Sermersheim with

       respect to Plaintiff Megan Hayes’s claim that Defendant Katherine Sermersheim did not

       provide adequate notice to Plaintiff Megan Hayes of the investigation against her or the

       opportunity to be fully heard and that the suspension deprived Plaintiff Megan Hayes of

       her liberty and/or property.

       (Proceed to the next question.)



Question 2 (choose (check) a or b)

____ a. We, the jury, unanimously find in favor of Plaintiff Megan Hayes with respect to her

       claim that Defendant Katherine Sermersheim disciplined Plaintiff Megan Hayes because

       Plaintiff Megan Hayes is a woman.
  USDC IN/ND case 4:18-cv-00089-JEM document 141 filed 09/23/22 page 4 of 8


____   b. We, the jury, unanimously find in favor of Defendant Katherine Sermersheim with

       respect to Plaintiff Megan Hayes’s claim that Defendant Katherine Sermersheim

       disciplined Plaintiff Megan Hayes because Plaintiff Megan Hayes is a woman.

(If you check response “b” to both of the above questions, do not answer Question 3 and

sign this verdict form without answering any of the other questions. If you check response

“a” to either question, then proceed to Question 3.)



Question 3

       We, the jury, find that Plaintiff Megan Hayes is entitled to compensatory damages from

Defendant Katherine Sermersheim in the following amount: $ _____________________.

(Proceed to the next question.)



Question 4 (choose (check) a or b)

____   a. We, the jury, unanimously find Defendant Katherine Sermersheim’s conduct WAS

       malicious or in reckless disregard of Plaintiff Megan Hayes’s rights.

____   b. We, the jury, unanimously find that Defendant Katherine Sermersheim’s conduct

       WAS NOT malicious or in reckless disregard of Plaintiff Megan Hayes’s rights.

(If you check response “b”, do not answer Question 5 and sign this verdict form without

answering Question 5. If you check response “a” to this question, then proceed to Question

5.)
  USDC IN/ND case 4:18-cv-00089-JEM document 141 filed 09/23/22 page 5 of 8


Question 5

      We, the jury, find that plaintiff Megan Hayes is entitled to punitive damages from

Defendant Katherine Sermersheim in the following amount: $ _____________________.



Dated: ________________                            ___________________________________
                                                   Presiding Juror
  USDC IN/ND case 4:18-cv-00089-JEM document 141 filed 09/23/22 page 6 of 8


                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION AT LAFAYETTE

NANCY ROE,                                   )
    Plaintiff,                               )
                                             )
              v.                             )      CAUSE NO.: 4:18-CV-89-JEM
                                             )
PURDUE UNIVERSITY, et al.,                   )
    Defendants.                              )

                                  VERDICT: Alysa Rollock

Question 1 (choose (check) a or b):

____   a. We, the jury, unanimously find in favor of the plaintiff Megan Hayes with respect to

       her claim that Defendant Alysa Rollock did not provide adequate notice to Plaintiff

       Megan Hayes of the investigation against her or the opportunity to be fully heard and that

       the suspension deprived Plaintiff Megan Hayes of her liberty and/or property.

____   b. We, the jury, unanimously find in favor of Defendant Alysa Rollock with respect to

       Plaintiff Megan Hayes’s claim that Defendant Alysa Rollock did not provide adequate

       notice to Plaintiff Megan Hayes of the investigation against her or the opportunity to be

       fully heard and that the suspension deprived plaintiff Megan Hayes of her liberty and/or

       property.

(Proceed to the next question.)



Question 2 (choose (check) a or b)

____ a. We, the jury, unanimously find in favor of Plaintiff Megan Hayes with respect to her

       claim that Defendant Alysa Rollock disciplined Plaintiff Megan Hayes because Plaintiff

       Megan Hayes is a woman.
  USDC IN/ND case 4:18-cv-00089-JEM document 141 filed 09/23/22 page 7 of 8


____   b. We, the jury, unanimously find in favor of Defendant Alysa Rollock with respect to

       Plaintiff Megan Hayes’s claim that Defendant Alysa Rollock disciplined Plaintiff Megan

       Hayes because Plaintiff Megan Hayes is a woman.

(If you check response “b” to both of the above questions, do not answer Question 3 and

sign this verdict form without answering any of the other questions. If you check response

“a” to either question, then proceed to Question 3.)



Question 3

       We, the jury, find that Plaintiff Megan Hayes is entitled to compensatory damages from

Defendant Alysa Rollock in the following amount: $ _____________________.

(Proceed to the next question.)



Question 4 (choose (check) a or b)

____   a. We, the jury, unanimously find that Defendant Alysa Rollock’s conduct WAS

       malicious or in reckless disregard of Plaintiff Megan Hayes’s rights.

____   b. We, the jury, unanimously find that Defendant Alysa Rollock’s conduct WAS NOT

       malicious or in reckless disregard of Plaintiff Megan Hayes’s rights.

(If you check response “b”, do not answer Question 5 and sign this verdict form without

answering Question 5. If you check response “a” to this question, then proceed to Question

5.)



Question 5

       We, the jury, find that Plaintiff Megan Hayes is entitled to punitive damages from the
  USDC IN/ND case 4:18-cv-00089-JEM document 141 filed 09/23/22 page 8 of 8


Defendant Alysa Rollock in the following amount: $ _____________________.




Dated: ________________                        ___________________________________
                                               Presiding Juror
